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                   UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA
                      SAN FRANCISCO DIVISION




FEDERAL TRADE COMMISSION,
     Plaintiff
                                       Case No. 23-cv-02880-JSC
    v.

MICROSOFT CORPORATION, et al.,
     Defendants




              DECLARATION OF DENNIS W. CARLTON

                             JUNE 26, 2023
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1.     I am the David McDaniel Keller Professor of Economics Emeritus at the Booth School of
Business of the University of Chicago. I received my A.B. in Applied Mathematics and
Economics from Harvard University and my M.S. in Operations Research and Ph.D. in
Economics from the Massachusetts Institute of Technology. I have served on the faculties of the
Law School and the Department of Economics at the University of Chicago and the Department
of Economics at the Massachusetts Institute of Technology.

2.     I specialize in microeconomics and specifically in the economics of industrial
organization. I am co-author of the book Modern Industrial Organization, a leading text in the
field of industrial organization, and I also have published approximately 150 articles in academic
journals and books. In addition, I serve as Co-Editor of the Journal of Law and Economics, a
leading journal that publishes research applying economic analysis to industrial organization and
legal matters; serve on the Editorial Board of Competition Policy International, a journal devoted
to competition policy; and serve on the Advisory Board of the Journal of Competition Law and
Economics. I have also served as an Associate Editor of the International Journal of Industrial
Organization and Regional Science and Urban Studies, and on the Editorial Board of Intellectual
Property Fraud Reporter. I was the 2014 Distinguished Fellow of the Industrial Organization
Society.

3.     In addition to my academic experience, I served as Deputy Assistant Attorney General
for Economic Analysis, Antitrust Division, U.S. Department of Justice from October 2006
through January 2008. My responsibilities included supervising approximately 50 Ph.D.
economists, helping formulate antitrust policy toward ongoing proposed mergers, analyzing
general antitrust policies both horizontal and vertical, and communicating such policies to
foreign and domestic agencies, as well as to practitioners. I also served as a Commissioner of the
Antitrust Modernization Commission, created by Congress to evaluate U.S. antitrust laws. I have
served as a consultant to the Department of Justice and Federal Trade Commission on the
Horizontal Merger Guidelines, as a general consultant to the Department of Justice and Federal
Trade Commission on antitrust matters, as a member of the American Bar Association Advisory
Committee that advises the incoming President on antitrust policy, and as an advisor to the
Bureau of the Census on the collection and interpretation of economic data. I also helped create
and teach in a program sponsored by the Federal Judicial Center to train judges on antitrust
matters.


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4.     I also am a Senior Managing Director of Compass Lexecon, a consulting firm that
specializes in the application of economics to legal and regulatory issues and for which I served
as President (of Lexecon) for several years. I have provided expert testimony before various U.S.
state and federal courts, the U.S. Congress, a variety of state and federal regulatory agencies and
foreign tribunals.

5.     My curriculum vitae, which includes a list of my testifying experience in the last four
years, is attached as Appendix A to this report. Compass Lexecon bills for my time on this
matter at my customary hourly rate, which is currently $2,000 per hour. Neither my
compensation nor that of Compass Lexecon is dependent on the outcome of this proceeding.

6.     I have been asked by Counsel for Microsoft and Activision to analyze the FTC’s claims,
with a focus on the opinions of their economic expert, Prof. Robin Lee,1 concerning potential
adverse competitive effects and lack of procompetitive efficiencies arising from Microsoft’s
proposed acquisition of Activision. The FTC claims that, after Microsoft’s acquisition of
Activision (the “Proposed Transaction”), “Microsoft would have the ability and increased
incentive to withhold or degrade Activision’s content in ways that substantially lessen
competition—including competition on product quality, price, and innovation. This loss of
competition would likely result in significant harm to consumers in multiple markets at a pivotal
time for the industry.”2 Prof. Lee opines that Microsoft would, post-merger, have the ability and
a greater incentive than Activision to withhold Activision content from Microsoft console rivals,
and that Microsoft would likely engage in total foreclosure. This conclusion is based primarily
on a model of console demand and a separate model of the profitability of Microsoft foreclosing
Activision content from Sony consoles. He also claims that because he finds that total
foreclosure is profitable, even if there were no total foreclosure, Microsoft would likely engage
in partial foreclosure of Activision content by in some way degrading the quality of Activision
content on PlayStation consoles as compared to Xbox consoles. Finally, he claims that the

1
       Expert Report of Robin S. Lee, Ph.D., May 5, 2023 (“Lee Report”); Expert Reply Report of
       Robin S. Lee, Ph.D., June 9, 2023 (“Lee Reply Report”); and Direct Testimony of Robin S. Lee,
       Ph.D. June 25, 2023 (“Lee Direct Testimony”). I understand there is a dispute about whether Dr.
       Lee’s reports are admissible. I take no position on that matter but occasionally address points
       raised in his report to the extent they are admitted.
2
       Complaint, In the Matter of Microsoft Corp. and Activision Blizzard, Inc., Docket No. 9412,
       December 8, 2022, ¶ 1.


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merger would be unlikely to yield efficiencies that are cognizable and sufficient to offset the
harms. Thus, Prof. Lee concludes that competition and consumers would be harmed in each of
the relevant markets he defines.

7.     I submitted an expert report on these issues in the Federal Trade Commission’s
administrative court proceeding challenging the Microsoft-Activision merger.3

8.     My main conclusions are as follows:

          Prof. Lee’s opinion that the proposed merger will lead to competitive harm is peculiar
           given the competitive conditions in the industry. Sony and Microsoft are the only
           two firms in the narrow market Prof. Lee defines, the market for “high-performance
           video game consoles” sold in the U.S., and Sony is the larger console seller by far.4
           Microsoft expects that the proposed transaction with Activision will allow it to
           achieve merger-specific efficiencies that will enable it to compete better against its
           larger rival, Sony. Normally, this would be seen as a procompetitive outcome, but in
           Prof. Lee’s opinion, the proposed transaction is anticompetitive because he concludes
           that there are no merger-specific efficiencies, or, if the efficiencies are merger
           specific, they are not sufficient to offset the harms from the foreclosure that his
           analysis predicts will occur. Moreover, Prof. Lee’s conclusion that Microsoft would
           foreclose Call of Duty from Sony is especially peculiar since Sony could avoid this
           outcome by signing the contract that Microsoft has offered that guarantees Sony
           access to Call of Duty on its current and future consoles.

          Vertical mergers raise different issues than horizontal mergers. A horizontal merger
           eliminates competition among firms that produce substitutes. This automatically
           generates upward pricing pressure as competition is reduced. In contrast, a vertical
           merger, such as this one, involves combining complements, not substitutes, and does
           not reduce the number of competing firms. Vertical mergers automatically generate
           downward pricing pressure, and are typically procompetitive as a result. This does not

3
       Expert Report of Dennis W. Carlton, May 23, 2023 (“Carlton Report”).
4
       For the purposes of my report, I use Prof. Lee’s market definitions, though I do not necessarily
       agree with them. I understand that another expert is addressing Prof. Lee’s market definitions and
       whether they are valid.


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        mean that vertical mergers are always desirable. In some limited cases, vertical
        mergers can generate incentives to raise rivals’ costs or otherwise harm rivals, and
        competition can suffer. Vertical mergers, like horizontal mergers, can also generate
        other benefits by, for example, allowing the production of or expansion of new
        products such as Game Pass. Any possibility of harms from a vertical merger must
        be balanced against the possible benefits of a vertical merger. In the proposed
        Microsoft-Activision merger, there is a demonstrable benefit from the merger: Call of
        Duty will be made available on some platforms it is not currently available on
        (specifically, Nintendo and five cloud streaming providers, including Nvidia) and will
        be more widely available on Xbox through its inclusion in Game Pass. Prof. Lee
        does not acknowledge this benefit, or any benefit from the combining of
        complementary products.

       Prof. Lee presents quantitative models to support his claim that Microsoft would
        foreclose Sony completely from Call of Duty. Prof. Lee’s conclusion that foreclosure
        would occur is incorrect and his models contain material errors.

            o Prof. Lee first generates a demand model, or as he calls it a share model, from
                data regarding the previous generation of consoles. This demand model allows
                him to estimate how consumers would substitute away from PlayStation to
                Xbox and other goods in the event Call of Duty were withheld from
                PlayStation. In his discussion of the model, he focuses only on substitution
                between PlayStation and Xbox, and he ignores the substitution to outside
                goods. This error, combined with other errors that undermine the reliability of
                his model, greatly increases the predicted increase in Xbox sales from the
                hypothetical foreclosure.

            o Prof. Lee’s claims of total foreclosure are not supported by his separate
                foreclosure model. A key assumption in his foreclosure model—that 20% of
                single-homing5 PlayStation users who play Call of Duty would buy an Xbox if

5
    This includes a small percentage of PlayStation users who multihome with PC but would choose
    not to play COD on PC, whom Prof. Lee treats as single-homers. Prof. Lee collectively refers to
    these users as “potential Xbox purchasers.”


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           Call of Duty were withheld from PlayStation, known as the “Xbox conversion
           rate”—is not supported by his demand model or by other evidence he cites.
           Correcting this one problem in his foreclosure model reverses his conclusion
           that foreclosure would be profitable to Microsoft.

       o Prof. Lee makes other questionable assumptions in his foreclosure model—
           such as his failure to adequately account for multihoming (namely new Xbox
           users retaining their PlayStation and shifting only some of their purchases to
           Xbox), his failure to properly account for lost profits from other Microsoft and
           Activision titles on PlayStation, and his overestimate of the value of new to
           Xbox users—that lead him to further overestimate the profitability of
           foreclosure.

       o Prof. Lee’s claims of total foreclosure are inconsistent with economic realities
           of the industry. Multiplayer games, like Call of Duty in particular, benefit
           from network effects, which means that as more users play them, the value of
           the game increases to everyone. This increases the incentive to distribute such
           a game widely, on many platforms, and would raise the costs of making a
           game exclusive. Prof. Lee provides no plausible basis for discounting these
           effects with a game like Call of Duty. Aligned with the theory that
           multiplayer games benefit from wide distribution, I understand that no
           established multi-player, multi-platform games with cross-play (which allows
           players on different platforms to play with one another) have been taken
           exclusive. In addition, Microsoft has signed contracts with Nintendo and
           cloud gaming providers and made an offer to Sony to make Call of Duty
           available on PlayStation. Prof. Lee’s analysis ignores that firms he claims
           will be totally foreclosed either have protected themselves against foreclosure
           or, in the case of Sony, could protect itself based on the offer made by
           Microsoft.

   Prof. Lee presents no quantitative model of partial foreclosure to support his claim
    that partial foreclosure will occur. He claims simply that it follows from his model of
    total foreclosure, but as his vertical foreclosure model is flawed and fails to prove that


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    Microsoft would engage in total foreclosure, it equally cannot be used to assume
    partial foreclosure will take place. Prof. Lee also, offers no economic evidence of the
    magnitude of the conversion rate from partial foreclosure. Without such evidence
    Prof. Lee has no basis to conclude that partial foreclosure, which he envisions as a
    degradation of Call of Duty quality when played on a non-Xbox platform, would lead
    to sufficient gain in Xbox sales to offset the costs of such a strategy.

    Indeed, to evaluate any partial foreclosure strategy, Prof. Lee would need to (i)
    specify the particular partial foreclosure strategy; (ii) assess the cost to Xbox to
    implement that strategy and the expected gain as a result; and (iii) evaluate the effect
    of that strategy on PlayStation and competition more generally. Prof. Lee has not
    done even the first step.

   Prof. Lee offers no quantitative model of foreclosure (total or partial) in the markets
    he defines regarding subscription or cloud services. The only analysis of foreclosure
    that he does offer focuses solely on the market for buy-to-play games in the console
    market. He therefore has no empirical analysis to support his claim that Microsoft
    would have the incentive to foreclose competitors in these other markets.

   Prof. Lee presents no quantitative model that weighs the harms he claims will occur
    against the benefits of vertical merger. Instead, he claims no such benefits exist, and
    so there are no benefits to balance against. This ignores well-accepted economic
    principles, which Prof. Lee acknowledges elsewhere, establishing that vertical
    mergers can generate benefits. Prof. Lee’s claim that Call of Duty would have been
    offered on Game Pass and on cloud services in the absence of the merger is directly
    contradicted by Activision’s past business strategy and statements about future
    strategy without the merger.

   Even though there will not be exclusivity for Call of Duty, that does not mean that it
    is appropriate to condemn all exclusivity in this industry. Sony and Nintendo—to a
    greater extent than Microsoft—use exclusivity to promote sales of their consoles.
    Exclusivity can, under certain circumstances, be procompetitive by creating greater
    incentives to create and promote a product.



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          Prof. Lee fails to adequately analyze Sony’s competitive response to any potential
           withholding of Call of Duty, which further calls his analysis into question.

9.     Prof. Lee’s analysis of foreclosure and my critiques of it are detailed and sometimes
complicated. But the essence of my critique can be stated simply, as shown in Figure 1.

                  Figure 1: Prof. Lee’s Foreclosure Conclusion Is Incorrect




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I.     VERTICAL MERGERS GENERATE BENEFITS.

10.     The proposed Microsoft-Activision merger is a vertical merger, not a horizontal one. A
horizontal merger eliminates a rival and creates upward pricing pressure due to the loss of that
rival. In contrast, a vertical merger does not eliminate a rival and creates downward pricing
pressure, which as a general matter benefits consumers. Both types of mergers can have
additional benefits and harms.

11.    A vertical merger combines firms with complementary assets, does not involve the
elimination of a competitor to either the upstream or downstream merging firm, and generates
well-recognized, procompetitive effects that must be considered in any attempt to determine the
net effect of the merger on competition and consumer welfare.6 These vertical merger benefits
arise from the alignment of investment incentives or business strategies of the merging firms, the
internalization of pricing externalities, and the reduction of transaction costs between the
merging firms.

12.    In limited circumstances a vertical merger can harm competition, but a complete analysis
would need to show that the harms exceed the benefits. In analyzing the effect of a vertical
merger on competition, the analyst must account for the procompetitive effects as well as any
incentives to harm rivals in order to figure out the net effect of any vertical transaction. If the
analyst ignores the benefits, he can only find harms. Without a demonstration that harms of a
vertical merger exceed the benefits, one risks preventing procompetitive mergers that would
enhance efficiency and improve consumer welfare.




6
       The procompetitive effects of a vertical merger are well recognized, including in Prof. Lee’s own
       academic publications. See, e.g., Dennis W. Carlton and Jeffrey M. Perloff, Modern Industrial
       Organization, Pearson, 2005, Chapter 12; Dennis W. Carlton (2020), “Transaction Costs and
       Competition Policy,” International Journal of Industrial Organization, 73:1-14; Dennis W.
       Carlton, Georgi V. Giozov, Mark A. Israel, and Allan L. Shampine (2022), “A Retrospective
       Analysis of the AT&T/Time Warner Merger,” Journal of Law and Economics, 65(S2); Gregory
       S. Crawford, Robin S. Lee, Michael D. Whinston, and Ali Yurukoglu (2018), “The Welfare
       Effects of Vertical Integration in Multichannel Television Markets,” Econometrica, 86(3): 891-
       954; Ronald H. Coase (1937), “The Nature of the Firm,” Econometrica, 4(16): 386-405; Oliver E.
       Williamson (1971), “The vertical integration of production: market failure considerations,”
       American Economic Review, 61(2): 112-123; Bengt Holmström and John Roberts (1998), “The
       boundaries of the firm revisited,” Journal of Economic Perspectives, 12(4):73-94.


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18.    Given Activision’s consistent business strategy and its judgment that cloud gaming
services do not facilitate a high-quality user experience for games like Call of Duty, the only
reasonable assumption about Activision’s behavior in the absence of the merger is that it would
continue to withhold its Call of Duty content from cloud gaming services. By contrast,
Microsoft’s contractual commitments to cloud gaming services providers would make
Activision’s content more broadly available to consumers than it would be in the absence of the
proposed merger.

19.    As in the case of subscription, Prof. Lee suggests that Activision would have a greater
incentive than the merged entity to distribute Call of Duty to cloud gaming Microsoft rivals. The
contracts signed by Microsoft prove this to be false.

20.    Investment incentives. The combined company will have an increased incentive to
invest in developing new games or franchises or improving existing games or franchises
compared to an independent Activision. This is because the combined company will capture
more of the incremental profits from these investments than Activision does as an independent
game developer. Moreover, because adding Call of Duty to Game Pass will result in an increase
in the number of Game Pass users, that gives Microsoft more incentive to invest in other games,
not just Activision games. This alignment of incentives between Microsoft and Activision has
not been and likely cannot be achieved by contract. In the presence of contracting costs,
uncertainty, and asymmetric information, contracts cannot necessarily produce the equivalent of
what an integrated firm can achieve.14 Thus, the merger can be expected to increase incentives
to invest in game development compared to a world without the merger.

21.    In summary, this vertical merger creates benefits that cannot be ignored when assessing
whether it is procompetitive or anticompetitive. Microsoft plans to make Call of Duty available
on Game Pass (including on Game Pass Ultimate, which involves a cloud streaming feature) and
has already signed contracts with Nintendo and cloud providers, both of which will make Call of
Duty more broadly available than it would be in the absence of the merger. The merger will also
improve incentives to invest in game development. Prof. Lee’s analysis ignores this reality and

14
       Ronald H. Coase (1937), “The Nature of the Firm,” Econometrica, 4(16): 386-405; Oliver E.
       Williamson (1971), “The vertical integration of production: market failure considerations,”
       American Economic Review, 61(2): 112-123; Bengt Holmström and John Roberts (1998), “The
       boundaries of the firm revisited,” Journal of Economic Perspectives, 12(4):73-94.


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concludes that the Proposed Transaction would likely harm competition and consumers in each
relevant market. Assessing only the potential harms of a merger without properly considering
the benefits can lead to the denial of mergers that are procompetitive and benefit consumers.
This problem is particularly acute for vertical mergers, which, as Prof. Lee has acknowledged in
his academic work,15 necessarily create efficiencies.


II.    PROF. LEE’S CONCLUSION THAT TOTAL FORECLOSURE WOULD OCCUR
       IS INCORRECT

22.    The only quantitative analysis Prof. Lee relies on to demonstrate that total foreclosure is
likely to occur is a model of total foreclosure of certain Activision content from PlayStation
consoles. He offers a separate model of demand, which he calls the share model, to demonstrate
that exclusive content is valuable to a console manufacturer, and he appears to use the results of
that model to validate a key assumption he makes in his foreclosure model. Specifically, he
assumes that 20% of single-homing PlayStation users who would have purchased Call of Duty
2025 absent withholding will purchase an Xbox in the event that Call of Duty 2025 is withheld
from PlayStation (the “Xbox conversion rate”), resulting in a 5.5% share shift to Xbox. Prof. Lee
provides no reliable support for this assumption, however, and his foreclosure model does not
provide reliable support for his conclusions that totally withholding Call of Duty from
PlayStation likely would be profitable and likely would occur.16

23.    Even before describing the errors in Prof. Lee’s analysis, it is useful to recognize there is
no evidence that Microsoft contemplates doing what Prof. Lee claims is likely to occur—
foreclosure of Call of Duty from Sony’s PlayStation—nor does the evidence from prior
experience support his claim. Microsoft’s internal analysis of the financial implications of the

15
       Gregory S. Crawford, Robin S. Lee, Michael D. Whinston, and Ali Yurukoglu (2018), “The
       Welfare Effects of Vertical Integration in Multichannel Television Markets,” Econometrica,
       86(3): 891-954.
16
       I note that my conclusion of no foreclosure is consistent with the findings of the UK Competition
       & Markets Authority and the European Commission, both of which concluded that Microsoft
       would not have an incentive to withhold Activision content from PlayStation. CMA, Anticipated
       acquisition by Microsoft of Activision Blizzard, Inc. - Final report”, April 26, 2023, available at:
       https://assets.publishing.service.gov.uk/media/644939aa529eda000c3b0525/Microsoft Activision
         Final Report .pdf, ¶¶ 55-56; European Commission press release, “Mergers: Commission
       clears acquisition of Activision Blizzard by Microsoft, subject to conditions,” May 15, 2023,
       available at: https://ec.europa.eu/commission/presscorner/detail/en/ip 23 2705.


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merger does not postulate any foreclosure.17 Indeed, Microsoft has offered Sony a contract to
prevent foreclosure of Call of Duty (though Sony has refused it). The trial testimony also
supports the view that Microsoft will not withhold Call of Duty from Sony.18 There is no
evidence that Prof. Lee cites, and I am aware of none, that shows that any established
multiplayer, multi-platform game with cross-play, i.e., any game that shares these characteristics
of Call of Duty, has ever been made exclusive. Microsoft has not made exclusive any
established multiplayer, multi-platform game with cross-play. For example, it did not make
Minecraft exclusive after it purchased it.

24.    Prof. Lee’s demand model does not provide a reliable basis for his conversion rate
assumption. Prof. Lee’s demand model is important to his foreclosure conclusion because he
relies on the demand model, in part, to justify his 20% Xbox conversion rate, which implies a
share shift of 5.5%. Prof. Lee states that this share shift assumption is conservative compared to
the 8.9% share shift from exclusivity estimated by his demand model. But his demand model
contains errors that, when corrected, produce results that do not support his key assumption
about the conversion rate.

25.    His demand model, which is based on U.S. data from the previous console generation,
makes several assumptions, two of which are critical in producing the final output and that are
inconsistent with other parts of his model.19 Because of those inconsistencies, I label these
assumptions “errors.” Notably, Prof. Lee includes only data about the PlayStation 4 and Xbox
One, even though his data includes information on the Nintendo Switch.

26.    First, Prof. Lee assumes that the presence of non-exclusive games on the Xbox One and
the PlayStation 4 (i.e., games available on both consoles, such as Call of Duty) do not influence

17
       The financial model that Microsoft used to analyze the proposed transaction (the “Deal Model”).
       PX1217-MSFT-2R-08912251.
18
       Trial testimony of Phil Spencer, in this matter, June 23, 2023, pp. 367-368.
19
       Prof. Lee estimates a model of consumer demand in which he uses data from 2013-2020 to
       predict how the relative share of Xbox One and Sony PlayStation 4 consoles sold during that
       period of time would have changed if Call of Duty and other Activision games had been made
       exclusive to the Xbox One. Using the specification in his initial report, Prof. Lee’s demand
       model predicts that Xbox One’s market share in the U.S. would have increased by 8.9% relative
       to PlayStation 4’s market share. This leads Prof. Lee to conclude that “Microsoft could achieve a
       substantial increase in Xbox console sales by making Activision content exclusive to its
       consoles.”


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consumer choice between the consoles and can be ignored in predicting the consoles’ relative
shares. I refer to this as the Non-Exclusive Games Error.

27.    Prof. Lee made the Non-Exclusive Games Error when calculating his market share shift
estimate despite the fact that (i) his own model was designed to take into account the fact that
non-exclusive games can have different expected utility on each console;20 and (ii) his model
generated results showing that these games have different utilities across platforms.21 Thus,
despite developing a model that allows non-exclusive games to have different values on different
consoles—and his apparent adoption of that idea in his academic work,22 Prof. Lee assumes,
when estimating his demand model in his initial report, that the valuation of any non-exclusive
game is identical across consoles. This constraint that Prof. Lee placed on his model eliminates
non-exclusive games from the analysis. Put simply, he ignores the presence of non-exclusive
games in influencing console choice, despite his model specification and earlier academic
research indicating non-exclusive games matter.

28.    I used Prof. Lee’s own model and data to show that the shares of non-exclusive games,
and specifically Call of Duty, are not the same (as Prof. Lee assumes), but rather are different
across consoles. For example, the share of consumers who purchased Call of Duty: Ghosts can
vary from console to console and can show differences as large as nine percentage points, as was
the case in December 2013 when its share was            on Xbox, compared to            on PlayStation
4. According to Prof. Lee’s model, this implies that the utility a consumer derived from this
game on the Xbox One differed from the utility a consumer derived from the game on
PlayStation 4, undermining Prof. Lee's assumption that the utility that consumers received from
this game in December 2013 is identical on both consoles.




20
       Lee Report, ¶ 730.
21
       Prof. Lee’s backup includes the program “05 Compute software utility.do”, which generates the
       intermediate dataset “05 Software utilities 2.dta”. This file contains the utilities for the non-
       exclusive software that Prof. Lee omitted from his model. It shows that the utilities for the same
       software in the same month differs across consoles.
22
       In his 2013 paper estimating a model of consumer demand for gaming consoles and software,
       Prof. Lee does not appear to impose the assumption that non-exclusive games have identical
       value on different consoles. (Robin S. Lee, (2013), “Vertical Integration and Exclusivity in
       Platform and Two-Sided Markets,” American Economic Review, 103(7): 2960-3000.)


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29.    Prof. Lee then generated a new version of his model that includes variables to separately
measure the utility of both exclusive and non-exclusive games. But estimating this more general
demand model without any constraints results in a negative coefficient for the utility of non-
exclusive games. This is a nonsensical result because it suggests that as non-exclusive games are
added to a platform, the platform’s utility to consumers decreases. Prof. Lee acknowledges that
such a result would not be “economically sensible.”23 To “fix” this problem, Prof. Lee simply
constrains the coefficient on the utility of non-exclusive games in his model to be non-negative,
which in effect sets them equal to 0. It is not surprising that Prof. Lee finds that the results of
this new model are similar to those of his original demand model—in fact, they are identical.
This is because the constraint he imposes on the coefficients on software utility (setting them to
zero), in effect, turns his new model into his old model (which did not include non-exclusive
games at all).

30.    Prof. Lee’s approach is not sound as a matter of economics If a model generates what
Prof. Lee admits are nonsensical results, that is a sign the model is unreliable. In such an
instance, the solution is not to constrain the model to force a more sensible outcome, but to
reformulate the model such that the unconstrained model gives a sensible result. This is
especially true when, as here, the constraint simply replicates the original flawed model.

31.    Second, Prof. Lee assumes that every lost PlayStation 4 sale results in an additional Xbox
One sale, ignoring the fact that consumers may choose to purchase something other than the
Xbox One in the event of foreclosure (i.e., they may choose the “outside good,” such as
Nintendo, PC, or simply not playing games at all, in Prof. Lee’s demand model).24 This
assumption is particularly problematic because Activision content could be played on platforms
other than PlayStation and Xbox post transaction and thus PlayStation users who want to access
Call of Duty after foreclosure have options other than purchasing an Xbox. I refer to this as the
Outside Good Error.

32.    Prof. Lee’s predicted change in Xbox One sales from his demand model depends
critically on the assumption that, if Call of Duty were withheld from PlayStation 4, every



23
       Lee Reply Report, note 192.
24
       Lee Reply Report, ¶ 156.


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consumer who would leave the PlayStation 4 would go only to the Xbox One. This assumption is
flawed, however, and causes Prof. Lee to greatly overstate the predicted change in the sales of
Xbox One. It is the change in Xbox sales, not the change in Xbox’s share of Xbox plus
PlayStation sales, that matters to an analysis of foreclosure.25

33.    Similar to the Non-Exclusive Games Error, Prof. Lee’s assumption regarding the outside
good is inconsistent with his demand model that explicitly allows consumers to choose the
outside good. As initially described, Prof. Lee’s model contemplates that if Call of Duty were
removed from PlayStation, consumers who would have chosen to purchase a PlayStation had
Call of Duty been available on the platform have three choices: (1) they can still choose to
purchase a PlayStation, despite the absence of Call of Duty; (2) they can purchase an Xbox; or
(3) they can do something else—multihome or purchase a different console (such as Nintendo), a
gaming PC, or nothing at all. This third option of substituting to the “outside good” is critical for
correctly answering the question of whether it would be profitable for Microsoft to withhold Call
of Duty from Sony. But Prof. Lee fails to account for it in his demand model, even though his
own academic research on consumer demand for consoles shows that diversion to the outside
good is significant.26

34.    Prof. Lee’s assumption that no consumers would switch to the outside good leads his
demand model to overstate the predicted increase in Xbox One sales if Call of Duty is withheld
from the PlayStation 4. To see why this is the case, consider the extreme example where
diversion to the outside good is 100%, that is, every consumer who chooses not to purchase a
PlayStation 4 due to Call of Duty being unavailable chooses not to purchase an Xbox One.


25
       For example, suppose that there are 9 consumers who purchase Xbox, 9 who purchase
       PlayStation, and 82 who purchase the outside option. Xbox’s sales as a percentage share of the
       sales of Xbox+PlayStation is 50% (=9/(9+9)). Suppose that as a result of foreclosure of
       PlayStation, 3 out of the 9 PlayStation consumers leave PlayStation and go to the outside option.
       Xbox’s sales do not increase at all in this scenario, but Xbox’s percentage share of
       Xbox+PlayStation sales will increase to 60% (=9/(9+6)). Because his methodology ignores the
       outside good, Prof. Lee would find an increase in Xbox sales in this scenario, even though there is
       none. He would calculate the change in Xbox sales as the change in Xbox’s percentage share of
       Xbox+PlayStation times the number of Xbox+PlayStation sales prior to foreclosure, i.e., (60% -
       50%)*18 = 1.8.
26
       See Robin S. Lee, (2013), “Vertical Integration and Exclusivity in Platform and Two-Sided
       Markets,” American Economic Review, 103(7): p. 2986 (“Most consumers opt to consume the
       outside good rather than purchase another console following a price increase.”)


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Clearly, in this scenario, one should predict no increase in the number of Xbox Ones sold.
Because Prof. Lee looks only at the change in relative share of the Xbox One and PlayStation 4
(ignoring the outside good), however, he would falsely predict an increase in the number of Xbox
Ones sold. The manner in which Prof. Lee estimates his model precludes him from ruling out this
possibility and instead imposes an equally extreme assumption on the other end of the spectrum:
that diversion to the outside good is 0%.

35.     Correcting Prof. Lee’s error in excluding non-exclusive software from his demand model
and his error in not accounting for diversion to the outside good leads to a substantially lower
predicted effect on Xbox sales in the event Microsoft were to withhold Call of Duty from
PlayStation. After these corrections, Prof. Lee’s own model would show an estimated increase
in Xbox One sales that is between                   of what Prof. Lee’s demand model predicts.

36.     Alternative specifications of Prof. Lee’s model predict even smaller effects on Xbox
sales. I estimated a model that is identical to Prof. Lee’s demand model, except that it corrects
the two errors described above and is more general—specifically, I allowed for the possibility
that the relationship between the software on a console and the share of console sales vary
seasonally. I find that this model fits the data better than does Prof. Lee’s according to the very
criterion that Prof. Lee uses to choose among the multiple versions of his model that he
estimates.27 This model shows an estimated increase in Xbox One sales that is between
      of what Prof. Lee’s demand model predicts.

37.     Prof. Lee’s testimony cites to his demand model as evidence that his foreclosure model,
with his assumed 20% Xbox conversion rate, produces conservative results. My analysis has
shown that it is not conservative compared to a corrected version of his demand model and that
the increase in Xbox sales from his total foreclosure model are much larger than what he would
predict from his demand model, and thus there is no support from his demand model to justify
his assumption in his foreclosure model.

38.     Prof. Lee’s foreclosure model does not provide a reliable basis for concluding
foreclosure is likely. Prof. Lee presents a foreclosure model to estimate whether it would be



27
        Prof. Lee uses the mean squared error to select his baseline model over his alternative
        specifications. Lee Report, note 938.


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profitable for Microsoft to withhold Activision content from Sony consoles. Specifically, the
model compares the costs to Microsoft of withholding content—i.e., lost Activision sales on
PlayStation—to the benefits to Microsoft of withholding content—i.e., incremental profits
earned from gamers who would choose to play the Activision content on Xbox consoles or PCs.
Prof. Lee’s primary model is one that predicts the costs and benefits of foreclosing Call of Duty
2025, and no other version of the game.28 He makes several errors that, when corrected,
demonstrate that foreclosure would not be profitable. First and foremost, Prof. Lee
overestimates the share of foreclosed PlayStation gamers who would buy an Xbox to access Call
of Duty 2025.

39.    Prof. Lee’s conversion rate assumption is unsupported by economic evidence. One
of the most important inputs into Prof. Lee’s foreclosure model is his assumption that 20% of
single-homing PlayStation owners who would have purchased Call of Duty 2025 absent
withholding will purchase an Xbox in the event that Call of Duty 2025 is withheld from
PlayStation. Prof. Lee calculates that this 20% “Xbox conversion rate” would result in 1.6
million “new to Xbox” or “NTX” users in the first year alone if Call of Duty 2025 were withheld
from PlayStation. Prof. Lee calculates that this is equivalent to a share shift to Xbox of 5.5
percentage points (pp) over the first year since 1.6 million is 5.5% of yearly, global Xbox Series
X|S and PlayStation 5 console sales.

40.    Prof. Lee provides no economically sound basis for his assumption of a 20% Xbox
conversion rate or for the associated 5.5% share shift to Xbox after foreclosure.

41.    Prof. Lee claims that his demand model justifies the 5.5% share shift in his foreclosure
model, and that if anything, his foreclosure model may be conservative as the demand model
estimates an even larger share shift.29 However, as I discussed above, a corrected version of
Prof. Lee’s demand model that accounts only for his failure to correctly model the value of non-
exclusive games and his failure to account for sales shifting to the outside good predicts that




28
       He also considers two alternative models, the first of which assesses Microsoft’s incentive to
       withhold four COD titles (COD 2025-2028), and the second of which assesses Microsoft’s
       incentive to withhold Diablo IV. Lee Report, ¶¶ 565-566.
29
       Lee Direct Testimony, ¶ 106.


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49.    Prof. Lee fails to properly account for lost sales on non-foreclosed Microsoft and
Activision games. Suppose, for example, that Call of Duty 2025 were to be foreclosed from
PlayStation and, as a result, a user purchases an Xbox to play Call of Duty 2025 and switches to
using Xbox as his primary gaming device. That user will no longer purchase future Call of Duty
releases on PlayStation, even though he may have purchased future COD releases on PlayStation
absent the foreclosure of Call of Duty 2025. Prof. Lee’s foreclosure model ignores
Microsoft/Activision’s lost sales of games other than Call of Duty 2025 on PlayStation that result
from PlayStation users purchasing an Xbox after foreclosure of Call of Duty 2025. In contrast,
Prof. Lee’s benefit calculations account for all expected Microsoft/Activision profits on this user,
including profits on future Microsoft/Activision releases. In other words, Prof. Lee’s foreclosure
model does not recognize that some of the additional sales Microsoft/Activision makes on future
games following foreclosure of Call of Duty 2025 are merely sales that are shifted from
PlayStation to Xbox, and not incremental sales.40 His model therefore underestimates the cost to
Microsoft of withholding Call of Duty 2025, and consequently, overestimates the value of
foreclosure. If Prof. Lee’s foreclosure model were updated to address this error, then foreclosure
would be even more unprofitable.

50.    Prof. Lee uses aggressive LTV assumptions to estimate the expected value of NTX
users to Microsoft. Prof. Lee asserts that NTX switchers would produce greater than average
lifetime value because they are Call of Duty gamers, who Prof. Lee claims spend 40% more than
average Xbox gamers. He therefore adjusts his baseline LTV estimate upwards by 40% (net of
the console subsidy in the first year) in order to estimate the true value of an NTX user to
Microsoft. But Prof. Lee has not demonstrated that the Call of Duty gamers who are most likely
to buy an Xbox to access Call of Duty in the event of foreclosure spend more than average
gamers.



40
       Prof. Lee’s alternative model that assesses Microsoft’s incentive to withhold four COD titles
       (COD 2025-2028) partially accounts for these lost sales by modeling lost sales on only a limited
       number of future COD releases. (Lee Report, ¶¶ 786-787; Lee Reply Report, ¶ 246.) Even using
       Prof. Lee’s unjustified 20% Xbox conversion rate and ignoring my other criticisms, this
       alternative model estimates a recoupment rate of just 100.7%. (Prof. Lee’s initial report
       overestimated the average value of an Xbox user to Microsoft, a fact he now acknowledges. In his
       direct testimony, Prof. Lee therefore employs a revised, lower estimate. Prof. Lee’s direct
       testimony does not report the updated results of his alternative four-COD foreclosure model.)


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51.    Prof. Lee argues that users who spend more total hours on Call of Duty will be more
likely to buy an Xbox in the event of foreclosure, but he fails to acknowledge that Call of Duty
intensity (i.e., the percentage of gaming time spent playing Call of Duty) matters as well. For
example, imagine two gamers. Gamer A plays 100 hours of Call of Duty and four hours of
PlayStation exclusives; Gamer B plays 100 hours of Call of Duty and 400 hours of PlayStation
exclusives. It is to be expected that Gamer A would be more likely to buy an Xbox in the event
of foreclosure, or at least more likely to single-home on Xbox post-foreclosure. Prof. Lee fails to
recognize that, all else equal, users with higher Call of Duty intensity are more likely to buy an
Xbox in the event of foreclosure. This is a significant oversight because such users also tend to
have lower spending than average gamers. Prof. Lee has not demonstrated which Call of Duty
gamers are most likely to buy an Xbox, so he instead assumes that NTX users would have
spending levels consistent with average Call of Duty gamers. In my opinion, this assumption is
likely to be aggressive, which would cause Prof. Lee to overestimate the value of an NTX user to
Microsoft, and consequently, overestimate the value of foreclosure. If Prof. Lee’s foreclosure
model were updated to use a more conservative LTV assumption, then foreclosure would be
even more unprofitable

52.    Prof. Lee’s analysis does not account for the commitments Microsoft has made
regarding Call of Duty. Prof. Lee dismisses the existing contracts and contractual offers
Microsoft has made to console manufacturers and cloud gaming services that eliminate its ability
to totally foreclose Call of Duty from those platforms. He opines that any agreement with
Microsoft could not eliminate the possibility of foreclosure since Microsoft “would have an
economic incentive to deviate from” the agreements. Even assuming that is true, which I do not
agree with, a firms’ reputations and, if needed, court proceedings, create incentives to rely on
contracts. To assume that contracts cannot effectuate transactions is an extreme assumption,
especially when the contractual terms are similar to—or better than—those of contracts that
already exist, as I understand is the case here.

53.    Prof. Lee ignores Microsoft’s offer to Sony altogether. It is peculiar to claim that Sony’s
consoles will be foreclosed from effective competition by Xbox withholding Call of Duty when
Sony refuses to sign a contract that Microsoft offered to guarantee PlayStation access to Call of
Duty—an offer that includes a ten-year term. As an economic matter, that behavior is an
indication that Sony is more concerned about preventing Xbox from becoming a more potent


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competitor (or using the regulatory review process to extract even more favorable terms for the
distribution of Activision content) than it is with the possible loss of access to Call of Duty.

54.    With respect to content library and cloud gaming services, Prof. Lee’s claim that they
will be foreclosed compared to the but-for world with no transaction assumes a but-for world
that is contradicted by the evidence. Namely, Prof. Lee assumes that Activision would agree to
allow its content, including current versions of Call of Duty, to become part of a third party’s
content library or cloud gaming offering in the future. As such, Prof. Lee’s claim does not
reflect the expressed and consistent business strategy Activision has pursued and has stated it
would continue to pursue in the absence of the merger.


III.   PROF. LEE PROVIDES NO ANALYSIS OF PARTIAL FORECLOSURE

55.    Prof. Lee claims that “the Proposed Transaction would likely lead to foreclosure of
Activision content in the Consoles Markets, generating competitive and consumer harm arising
from less content or degraded content on Sony PlayStation consoles, and leading to lower-quality
or higher-priced products and reduced consumer choice.”41 However, he offers no empirical
analysis to support his claim that there would be “less content or degraded content on Sony
PlayStation consoles” as a result of the merger.

56.    Prof. Lee’s foreclosure model examines only Microsoft’s incentive to engage in total
foreclosure, not partial foreclosure. The latter cannot be inferred from the former. Microsoft’s
gains and losses from partial foreclosure would differ from those that result from total
foreclosure. To properly assess Microsoft’s incentives to partially foreclose, Prof. Lee would
need to identify the specific partial foreclosure strategy and assess the financial costs and
benefits that Microsoft would expect to realize as a result of that strategy. This would require
putting forward a new model that assessed those incentives—something that Prof. Lee has not
done. Even if Prof. Lee’s model of total foreclosure was informative with respect to Microsoft’s
incentive to engage in partial foreclosure (it is not), as I explained above, when flaws in his total
foreclosure model are corrected, it shows that it would be unprofitable for Microsoft to totally




41
       Lee Direct Testimony, ¶ 114.


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foreclose. He therefore cannot claim that his finding of total foreclosure justifies a conclusion of
partial foreclosure.

57.    Notably, Prof. Lee offers no quantitative model of foreclosure (total or partial) in
subscription or cloud services. The only analysis of foreclosure that he does offer focuses solely
on the market for buy-to-play games in the console market. He therefore has no empirical
analysis to support his claim that Microsoft would have the incentive to foreclose competitors in
these other markets.


IV.    PROF. LEE DOES NOT EVALUATE WHETHER THE TRANSACTION
       WOULD HARM CONSUMERS BECAUSE HE DOES NOT ACCOUNT FOR
       PRO-COMPETITIVE BENEFITS

58.    Despite having no empirical basis for his claim that Microsoft would engage in partial
foreclosure, Prof. Lee proceeds to quantify the consumer harm that would result from partial
foreclosure. Specifically, Prof. Lee estimates a “Harm model” in which he assumes “a reduction
in the quality of Sony PlayStation consoles if Activision content were foreclosed.”42 Absent from
this model are any of the benefits that are expected to result from the acquisition. It is well
established in the economic literature that vertical mergers, such as this one, can result in
benefits to consumers.43 As I explain above, there are benefits unique to this acquisition, such as
the inclusion of Activision content in Game Pass, that will not be realized absent the merger.
These efficiencies benefit consumers, either through a reduction in the price that consumers pay
or an increase in the quality of the products they purchase. A meaningful analysis of the effects
of this acquisition on consumer welfare must weigh both the harms and benefits. To ignore the
pro-consumer effects of a transaction while giving full weight to its hypothetical harms is
tantamount to assuming that the transaction will harm consumers.44


42
       Lee Direct Testimony, ¶ 116.
43
       See literature cited in note 6, above.
44
       Even if Prof. Lee had established that Microsoft had the incentive to engage in partial foreclosure
       (he did not) and had properly weighed the harms and benefits that will result from the transaction
       (he did not), his Harm model would still be incapable of establishing whether the transaction
       would harm consumers. Much like his foreclosure model, Prof. Lee’s Harm model is dependent
       on a number of unsupported assumptions. Specifically, the extent to which consumers are harmed
       in his model depend on an assumed value of the shift in console shares, from which he infers the



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59.    Prof. Lee’s analysis also fails to adequately account for Sony’s competitive response to
Microsoft engaging in a strategy to partially or totally foreclose. In response to such a strategy,
Sony could, for example, attempt to make its subscription service more appealing to consumers
in order to better compete with Microsoft’s Game Pass after it adds Activision content; or it
could increase its investment in first-party exclusives to make its platform more desirable by
gamers. These responses would not only reduce the harm to Sony from Microsoft’s foreclosure
strategy, but also reduce Microsoft’s incentive to engage in such a strategy in the first place and
provide benefit to consumers that would offset the potential harms from foreclosure. Thus, by
failing to account for such competitive responses, Prof. Lee overstates Microsoft’s incentive to
foreclose and also overstates the harm that would result to consumers.

                                              *    *   *

I conclude that Prof. Lee has failed to demonstrate that this transaction will cause harm to
competition or consumers, either through partial or total foreclosure of Call of Duty or other
Activision content.




                                                                                        June 26, 2023


                                                            Dennis W. Carlton                     Date




       extent to which the quality of the PlayStation would be reduced; and the value of the nesting
       parameter, σ, which governs the extent to which consumers substitute to the outside good, rather
       than the Xbox, when the quality of the PlayStation is reduced. Prof. Lee has no estimate of the
       value of the nesting parameter or a model that informs what share shift would occur in the event
       of partial foreclosure.


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      Appendix A: Curriculum Vitae and Testimony
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                           Washington, DC 20004

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                           Chicago, Illinois 60604

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                                           EDUCATION

Ph.D., MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Cambridge, Massachusetts: Economics,
     1975.

M.S., MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Cambridge, Massachusetts: Operations
     Research, 1974.

A.B., HARVARD UNIVERSITY (Summa cum laude): Applied Math and Economics, 1972.

                                          EMPLOYMENT

COMPASS LEXECON (formerly Lexecon), (2008 – present) Senior Managing Director; LEXECON INC.,
   (1977 – 2006), President 1997 – 2001, Senior Managing Director 2003 - 2006

UNIVERSITY OF CHICAGO, Booth School of Business, David McDaniel Keller Professor of Economics
    (2011 – July 2022; Emeritus July 2022- present); Katherine Dusak Miller Professor of Economics
    (2008 – 2011); Professor of Economics (1984 – 2008); Law School, Professor of Economics (1980
    – 1984); Department of Economics, Assistant Professor (1976 – 1979); Associate Professor (1979)

U.S. DEPARTMENT OF JUSTICE, Washington, District of Columbia (2006 – 2008) Deputy Assistant
     Attorney General for Economic Analysis, Antitrust Division

MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Cambridge, Massachusetts, Department of
   Economics (1975 – 1976) Instructor in Economics

                              OTHER PROFESSIONAL EXPERIENCE

HARVARD UNIVERSITY, Public Policy Summer Course in Economics (1977), Professor

BELL TELEPHONE LABORATORIES (Summers 1976, 1977)

JOINT CENTER FOR URBAN STUDIES OF M.I.T. AND HARVARD UNIVERSITY, Cambridge,
    Massachusetts (1974 - 1975)

CHARLES RIVER ASSOCIATES, Cambridge, Massachusetts (Summers 1971, 1972) Research
   Assistant
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                                     FIELDS OF SPECIALIZATION

Theoretical and Applied Microeconomics
Industrial Organization

                              ACADEMIC HONORS AND FELLOWSHIPS

Keynote Address, 32nd Annual Workshop of the Competition Law & Policy Institute of New Zealand,
      2021
2020 Award for Best Article in Economic Inquiry for the article “Antitrust Treatment of Nonprofits: Should
      Hospitals Receive Special Care? (with C. Capps and G. David)”.
Best Academic Economics Article in Antitrust - 2019 Antitrust Writing Awards, given by Concurrences
      and George Washington University Law School for the article “Vertical Most-Favored-Nation
      Restraints and Credit Card No-Surcharge Rules” (with R. Winter) in The Journal of Law and
      Economics.
Harris Professor Lecture, Clemson University, 2019
Taft Lecture, New York Bar Association, 2018
Keynote Address, CRESSE Conference, June 2018
Best Academic Economics Article in Antitrust - 2016 Antitrust Writing Awards, given by Concurrences
      and George Washington University Law School for the article “Rethinking Antitrust in the Presence
      of Transaction Costs: Coasian Implications” (with B. Keating) in Review of Industrial Organization.
Keynote Address, Federal Trade Commission, Auto Distribution: Current Issues and Future Trends,
      January 19, 2016
Award for Antitrust Litigation Consultants of the Year 2015, awarded by Corporate Vision
Keynote Address, International Industrial Organization Conference, 2014
The 2014 Distinguished Fellow, Industrial Organization Society
Economist of the Year, Global Competition Review, 2014
Keynote Address, Sixth Annual Federal Trade Commission Microeconomics Conference, 2013
Heath Memorial Lecture, University of Florida, 2013
Award (w. Mark Israel) for Best Antitrust Analysis in Litigated Cases, Global Competition Review, 2013
Keynote Address, 21st Annual Workshop of the Competition Law & Policy Institute of New Zealand, 2010
Keynote Address, Japanese Symposium on Competition, sponsored by Japan Fair Trade Commission,
      2009
Recipient of Inaugural Robert F. Lanzilotti Prize, awarded by the Industrial Organization Society for Best
      Paper in Antitrust Economics, 2008
Keynote Address to Israel Antitrust Conference, 2008
Lewis Bernstein Memorial Antitrust Lecture, Washington, D.C., 2006
Distinguished Visitor, University of Melbourne, April 2005
Milton Handler Lecture, New York, 2004
Keynote Address to the International Competition Network, Mexico, 2004
Alexander Brody Distinguished Lecture, Yeshiva University, 2000
Ph.D. Thesis chosen to appear in the Garland Series of Outstanding Dissertations in Economics
Recipient of the 1977 P.W.S. Andrews Memorial Prize Essay, best essay in the field of Industrial
      Organization by a scholar under the age of thirty
National Science Foundation Grant, 1977 - 1985
Recipient of Post-doctoral Grant from the Lincoln Foundation, 1975
National Science Foundation Fellowship, 1972 - 1975
Phi Beta Kappa, 1971
John Harvard Award, 1970
Detur Book Prize, 1969
Edwards Whitaker Award, 1969
M.I.T., National Scholar Award, 1968




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                          PROFESSIONAL AFFILIATIONS AND ACTIVITIES

Appointed to ABA Leadership in Antitrust Section: 2018-2019
Participant in the FTC Competition and Consumer Protection Hearings: "The State of U.S. Antitrust Law",
       September 21, 2018 (Session 1) and “Merger Retrospective Hearing”, April 12, 2019
Co-Organizer and Instructor, Antitrust Law and Economics Institute, Federal Judicial Center, 2017, 2018,
       2023
Member, Task Force on International Divergence in Dominance Standards, American Bar Association
       2017 - 2018
Board Member, The Taub Center for Social Policy Studies, 2017 - present
Member, U.S. Chamber of Commerce International Competition Policy Expert Group for report on
       International Trade and Competition, 2017
Appointed Member of the ABA Presidential Transition Task Force, Antitrust Law, 2016
Appointed Member of the ABA Presidential Transition Task Force, Antitrust Law, 2012
Advisory panel to the Department of Justice and the FTC on the merger guidelines, 2010
Co-editor, The Journal of Law and Economics, 1980 - present
Visiting Committee, MIT, Department of Economics, 1995 - 2011
Member, Advisory Board, Economics Research Network, 1996 - present
Member, Advisory Board of Antitrust and Regulation Abstracts, Social Science Research Network, 1998
       - present
Advisory Board, Massachusetts Institute of Technology, Department of Economics, 1999
Editorial Board, Competition Policy International (CPI), 2010 - present, Co-Editor, Competition Policy
       International (CPI), 2004 – 2009
Member, Economic Task Force – Antitrust Division, American Bar Association, 2010
Advisory Board, Journal of Competition Law and Economics, 2004 - present
Deputy Assistant Attorney General for Economic Analysis, Antitrust Division, U.S. Department of Justice,
       2006 – 2008
Presidential Appointment to the Antitrust Modernization Commission, 2004 – 2007
Invited Panelist at Public Hearing on the Retail Banking Sector Inquiry: Payment Cards, before the
       European Commission in Brussels, Belgium, July 17, 2006.
Consultant on Merger Guidelines to the FTC, 2003
Professor, George Mason Institute for Judges, October 2001
Chairman, FTC Round Table on Empirical Industrial Organization (September 11, 2001)
Participant in the Round Table on the Economics of Mergers Between Large ILECS before the Federal
       Communications Commission, February 5, 1999
Member, Steering Committee, Social Science Research Council, Program in Applied Economics, 1997 -
       1999
Participant in roundtable discussions on "The Role of Classical Market Power in Joint Venture Analysis,"
       before the Federal Trade Commission, November 19, 1997 and March 17, 1998.
Participant in meetings with Committee of the Federal Reserve on Payment Systems, June 5, 1997
Associate Editor, Regional Science and Urban Economics, 1987 - 1997
Resident Scholar, Board of Governors of the Federal Reserve System, Summer, 1995
Accreditation Committee, Graduate School of Business, Stanford University, 1995
Associate Editor, The International Journal of Industrial Organization, 1991 - 1995
Editorial Board, Intellectual Property Fraud Reporter, 1990 - 1995
Consultant on Merger Guidelines to the U.S. Department of Justice, 1991 - 1992
Member, Advisory Committee to the Bureau of the Census, 1987 - 1990
National Bureau of Economic Research, Research Associate
Member, American Economic Association, Econometrics Society




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                                              BOOKS

Market Behavior Under Uncertainty, Ph.D. Thesis, Massachusetts Institute of Technology (September
    1975); Garland Publishing (1984).

Modern Industrial Organization, Scott, Foresman & Co., co-authored with Jeffrey Perloff, first edition
    (1990), (Chapter 17 of first edition reprinted as “The Economics of Information” for the University of
    Connecticut, Food Marketing Policy Center (1989)), second edition (1994), translated into Chinese,
    French, Hungarian and Italian; Addison Wesley Longman, third edition (2000), fourth edition
    (2005), translated into Chinese (2009).


                                      RESEARCH PAPERS

"The Equilibrium Analysis of Alternative Housing Allowance Payments," (with Joseph Ferreira) Chapter 6
     of Analysis of a Direct Housing Allowance Program, The Joint Center for Urban Studies of M.I.T.
     and Harvard University, (July 1975).

"Theories of Vertical Integration," presented at Fourth Annual Telecommunications Conference. Appears
     in a volume of Proceedings of the Fourth Annual Telecommunications Conference, Office of
     Telecommunications Policy, (April 1976).

"Uncertainty, Production Lags, and Pricing," American Economic Review, (February 1977).

"Selecting Subsidy Strategies for Housing Allowance Programs," (with Joseph Ferreira) Journal of Urban
     Economics, (July 1977).

"Peak Load Pricing With Stochastic Demand," American Economic Review, (December 1977).
     (Reprinted in Economic Regulation edited by P.L. Joskow, Edward Elgar Publishing Limited, 1998
     and Reprinted in The Economics of Public Utilities edited by Ray Rees, Professor of Economics at
     the University of Munich, Germany, 2005.)

"The Distribution of Permanent Income," (With R. Hall) Income Distribution and Economic Inequality,
     edited by Zvi Griliches, et al. (Halsted Press, 1978).

"Vertical Integration--An Overview," in Congressional Record Hearings on the Communications Act of
      1978. Bill H.R. 13105, (August 3, 1978).

"Market Behavior with Demand Uncertainty and Price Inflexibility," American Economic Review,
     (September 1978).

"Vertical Integration in Competitive Markets Under Uncertainty," Journal of Industrial Economics, (March
      1979). Awarded the P.W.S. Memorial Prize for the best essay in the field of Industrial Organization
      by a scholar under the age of thirty.

"Valuing Market Benefits and Costs in Related Output and Input Markets," American Economic Review,
     (September 1979).

"Contracts, Price Rigidity and Market Equilibrium," Journal of Political Economy, (October 1979).

"Why New Firms Locate Where They Do: An Econometric Model," in Studies in Regional Economics,
    edited by W. Wheaton, (Urban Institute, 1980).




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